22-10943-mew         Doc 1000        Filed 02/14/23 Entered 02/14/23 08:18:13                     Main Document
                                                 Pg 1 of 3



 Susheel Kirpalani
 Kate Scherling
 Zachary Russell
 QUINN EMANUEL URQUHART & SULLIVAN,
 LLP
 51 Madison Avenue, 22nd Floor
 New York, New York 10010
 Telephone: (212) 849-7000
 Facsimile: (212) 849-7100

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------x
                                                                   :
  In re:                                                           :    Chapter 11
                                                                   :
  VOYAGER DIGITAL HOLDINGS, INC., et al.,1                         :    Case No. 22-10943 (MEW)
                                                                   :
                                      Debtors.                     :    (Jointly Administered)
                                                                   :
  -----------------------------------------------------------------x

                       NOTICE OF FILING OF REDACTED VERSION OF
                      SPECIAL COMMITTEE’S INVESTIGATION REPORT

         PLEASE TAKE NOTICE that on October 7, 2022, Quinn Emanuel Urquhart & Sullivan,

 LLP (“Quinn Emanuel”), special counsel to debtor Voyager Digital, LLC (“Voyager LLC”),

 delivered to the Special Committee of the Board of Directors of Voyager LLC (the “Special

 Committee”) the Investigation Report (the “Report”).

         PLEASE TAKE FURTHER NOTICE that the Motion to Release Unredacted Version

 of “Notice of Filing of Redacted Objection of the Official Committee of Unsecured Creditors to

 Debtors’ Motion for Entry of an Order Approving (I) the Adequacy of the Amended Disclosure

 Statement, (II) Solicitation and Notice Procedures, (III) Forms of Ballots and Notices in


 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital,
 LLC (8013). The location of the Voyager Digital Holdings, Inc.’s and Voyager Digital Ltd.’s principal place of
 business is 33 Irving Place, Suite 3060, New York, NY 10003. Voyager Digital, LLC’s principal place of business is
 701 S Miami Ave, 8th Floor, Miami, FL 33131.
22-10943-mew      Doc 1000        Filed 02/14/23 Entered 02/14/23 08:18:13         Main Document
                                              Pg 2 of 3



 Connection Therewith, and (IV) Certain Dates with Respect Thereto” (Doc #526), to Release

 Special Committee Summary Reports into Investigation of Debtor Actions, and Object to

 Redaction of “Motion of the Debtors for Entry of an Order Authorizing the Debtors to Redact and

 File Under Seal Certain Confidential Information Related to Debtors’ Objection to Motion of

 Celsius Network LLC for Order (I) Lifting the Automatic Stay Pursuant to 11 U.S.C. 362(D)(1)

 and Bankruptcy Rule 4001 and (II) Granting Leave to File Late Proof of Claim Pursuant to

 Bankruptcy Rules 3003(C) and 9006(B)(1)” (Doc #892) [Docket No. 903] and Letter dated

 January 9, 2023, to Judge Wiles Filed by Tracy Hendershott [Docket No. 843] (together, the

 “Motion”), requested, among other things, disclosure of portions of the Report.

        PLEASE TAKE FURTHER NOTICE that, on February 3, 2023, the Special Committee

 filed the Special Committee of the Board of Directors of Voyager Digital, LLC’s Objection to

 Motion to Release Investigation Report [Docket No 956], objecting to the Motion on the grounds

 that, among other things, the Report contains privileged information and constitutes protected

 attorney-work product.

        PLEASE TAKE FURTHER NOTICE that, at the February 7, 2023 hearing on the

 Motion (the “Hearing”), movants clarified that the relief requested in the Motion does not seek to

 invade privileged information.

        PLEASE TAKE FURTHER NOTICE that, at the Hearing, Quinn Emanuel, on behalf of

 the Special Committee, agreed to file a redacted version of the Report (the “Redacted Report”) on

 the docket of the above-captioned case, provided that it will not operate as a waiver of any

 privileges possessed by the Special Committee or the Debtors.




                                                 2
22-10943-mew      Doc 1000      Filed 02/14/23 Entered 02/14/23 08:18:13            Main Document
                                            Pg 3 of 3



        PLEASE TAKE FURTHER NOTICE that, on February 13, 2023, the Court entered the

 Order Regarding Disclosure of Portions of Special Committee’s Investigation Report [Docket No.

 997] (the “Order”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the Special

 Committee hereby files the Redacted Report, attached hereto as Exhibit A.

        PLEASE TAKE FURTHER NOTICE that copies of the Redacted Report and other

 pleadings filed in these chapter 11 cases may be obtained free of charge by visiting the website of

 Stretto at https://cases.stretto.com/Voyager. You may also obtain copies of the pleadings filed in

 these chapter 11 cases by visiting the Court’s website at http://www.nysb.uscourts.gov in

 accordance with the procedures and fees set forth therein.



 New York, New York                                   /s/ Susheel Kirpalani
 Dated: February 14, 2023                             Susheel Kirpalani
                                                      Kate Scherling
                                                      Zachary Russell
                                                      QUINN EMANUEL URQUHART
                                                      & SULLIVAN LLP
                                                      51 Madison Avenue, 22nd Floor
                                                      New York, NY 10010
                                                      Telephone: 212-849-7000
                                                      Facsimile: 212-849-7100

                                                     Special Counsel to Debtor Voyager Digital,
                                                     LLC




                                                 3
